~AO 2458
          Case    4:09-cr-40029-LLP Document 644
           (Rev. 12/03) Judgment in a Criminal Case
                                                                         Filed 12/22/09            Page 1 of 6 PageID #: 1533
            Sheet 1


                                      UNITED STATES DISTRICT COlTRT
                                          District of South Dakota, Southern Division
        UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                            VS.
                                                                        Case Number: CR09-40029-05                     FILED
    DAVID BARAJAS, NKJA "DAVIE", AIKA
                                                                        USM Number: 14516-041
                                                                                                                       DEC 2 2 2009
               "DANNY"

                                                                        Mike Buffington                                ~~
                                                                        Defendant's Attorney
THE DEFENDANT:
•     pleaded guilty to count(s) 1 of the Second Superseding Indictment
o     pleaded nolo contendere to count(s) which was accepted by the court.

o     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section             Nature of Offense                                                                Offense Ended      Count
21 U.S.C.§§ 846 & 841(a)(l) Conspiracy to Distribute and Possess With Intent to Distribute a                 09/09/2009         ISS
                            Controlled substance



The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant the statutory and constitutional authority vested
in this court.


o     The defendant has been found not guilty on count(s)
o     Count(s)                               _      Dis            o are dismissed on the motion of the United States.
IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paId. If ordered to pay restitution,
the defendant must notify the court and United States attorney of any matenal changes in economic circumstances.



                                                                        12/21/2009
                                                                        Date of Imposition of JUdg~ent ( )


                                                                     AQuJLw.tL Ut'V4~~~..-i''''''''---''''.
                                                                     \jignature of Judge



                                                                        Hon. Lawrence L. Piersol, United States District Judge
                                                                        Name and Title of Judge


                                                                       ~,22(~                                                                   _
AO 2458     Case     4:09-cr-40029-LLP
             (Rev. 12/03) Judgment in Criminal Case   Document 644         Filed 12/22/09       Page 2 of 6 PageID #: 1534
             Sheet 2 - Imprisonment
                                                                                                                        Judgment - Page_2_of_6_
DEFENDANT:              DAVID BARAJAS, AlKJA "DAVIE", AIK.A "DANNY"
CASE NUMBER:            CR09-40029-05


                                                                IMPRISONMENT

•       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        one hundred twenty (120) months.



•       The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that, if eligible, defendant be allowed to participate in the Bureau of Prisons' 500-hour substance abuse
        treatment program under 18 U.S.c. § 362I(e), and if successful, the term of incarceration be reduced accordingly. It is further
        recommended the defendant be placed in a facility close to family and friends in Minnesota.


•       The defendant is remanded to the custody of the United States Marshal.

o       The defendant shall surrender to the United States Marshal for this district:
        o         at                                          Oa.m.     Op.m. on
        o         as notified by the United States Marshal.

o       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o         before 2 p.m.
        o         as notified by the United States Marshal.
        o         as notified by the Probation or Pretrial Services Offices.

                                                                      RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                           to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _" with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL



                                                                               8y              ==:::-:-:~=~='7":=_:_:_':""::"':~-:-------
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 2458     Case    4:09-cr-40029-LLP
             (Rev. 12/03) Judgment in a Criminal Case Document 644          Filed 12/22/09           Page 3 of 6 PageID #: 1535
              Sheet 3 - Supervised Release
                                                                                                                            Judgment- Page_3_ of_6_
DEFENDANT:                DAVID BARAJAS, NKIA "DAVIE", A/KA "DANNY"
CASE NUMBER:              CR09-40029-05

                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: five (5) years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the probation office.
o         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
•         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
•         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
o         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
          on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

     1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days ofeach
          month;
     3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)   the defendant shall support his or her dependents and meet other family responsibilities;
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
     6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)   the defendant shall not frequent places where controlled substances are iIlegally sold, used, distributed, or administered;
     9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do soby the probation officer;
    10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
    11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
    13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned bX the defendant's
          criminal record or personal history or characteristics and shaH permIt the probation officer to make such notIfications and to confirm
          the defendant's compliance with such notification requirement.
AO 2458    Case     4:09-cr-40029-LLP
            (Rev. 12/03) Judgment in a Criminal Case Document 644   Filed 12/22/09   Page 4 of 6 PageID #: 1536
            Sheet 3C - Supervised Release
                                                                                                   Judgment - Page _4_ of_6_
DEFENDANT:               DAVID BARAJAS, NKJA "DAVIE", A/KA "DANNY"
CASE NUMBER:             CR09-40029-05

                                            SPECIAL CONDITIONS OF SUPERVISION



1.        The defendant shall not consume any alcoholic beverages or frequent establishments whose
          primary business is the sale of alcoholic beverages.
2.        The defendant shall submit to a warrantless search of his person, residence, place of business, or
          vehicle, at the discretion of the probation office.
3.        The defendant shall participate in a program approved by and at the direction of the probation office
          for treatment of substance abuse.
4.        The defendant shall undergo inpatient or outpatient psychiatric or psychological treatment, as
          directed by the probation office.
5.        The defendant shall, as needed and at the direction of the probation office, reside and participate in
          a residential reentry center and be classified as a prerelease case.
6.        The defendant shall submit a sample of his blood, breath, or urine at the discretion or upon the
          request of the probation office.
7.        The defendant shall particil?ate in a program of domestic violence counseling, if available, as
          directed by the probation office.
8.        The defendant shall participate in and complete a cognitive behavioral training program as directed
          by the probation office.
9.        If residing in the District of South Dakota, the defendant shall, as needed and at the direction of the
          probation office, wear a Remote Location Monitoring Device and comply with the provision of the
          District of South Dakota Home Confinement Participant Agreement.
AO 2458     Case     4:09-cr-40029-LLP
             (Rev. 12/03) Judgment in a Criminal Case Document 644         Filed 12/22/09           Page 5 of 6 PageID #: 1537
             Sheet 5 - Criminal Monetary Penalties
                                                                                                                          Judgment - Page_5_ of_6_
DEFENDANT:               DAVID BARAJAS, NKJA "DAVIE", AIKA "DANNY"
CASE NUMBER:             CR09-40029-05
                                                     CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                                          Restitution
TOTALS               $ 100.00                                     $                                     $


o         The determination of restitution is deferred until.
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

o         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately I'roportioned payment, unless specified otherwise
          in the priority ~rder or pe~cent~ge payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
          before the Umted States IS paId.

                                                                                                                                  Priority Or
Name of Payee                                                               Total Loss*             Restitution Ordered           Percentage




                                                                       $
TOTALS                                                                     -------$--------
o     Restitution amount ordered pursuant to plea agreement $

o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

       o       the interest requirement is waived for the         o fine           o restitution.
       o       the interest requirement for the         o fine          o    restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and l13A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
AD 2458     Case    4:09-cr-40029-LLP
             (Rev. 12/03) Judgment in a Criminal Case Document 644                           Filed 12/22/09            Page 6 of 6 PageID #: 1538
             Sheet 6 - Schedule of Payments
                                                                                                                                          Judgment - Page _6_ of_6_
DEFENDANT:                  DAVID BARAJAS, A/KJA "DAVIE", AIKA "DANNY"
CASE NUMBER:                CR09-40029-05


                                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A
       •       Lump sum payment of $ .:,.IO.::.;O::..;.;:.OO::......            due immediately.

               o       not later                                                       , or
               o       in accordance             0      C,             0   D,      0      E, or    o    F below); or

B      o       Payment to begin immediately (may be combined with                             o    C,     o   D,       o   F below); or

c      o       Payment in equal 30ekl~ (e.g., weekly, monthly, guarterly) installments of $ over a period of (e.g., months or years), to
               commence (e.g.,     or 0 days) after the date of tliis judgment; or

D      o       Payment in equal weekl (e.g., weekly, monthly, or quarterly) installments of $ over a period of (e.g., months or years), to
                                                   G
               commence (e.g., 30 or 0 days) after release from imprisonment to a term of supervision; or

E      o       Payment of the criminal monetary penalties shall be due in regular quarterly installments of of the deposits in the defendant's
               inmate trust account while the defendant is in custody. Any portion of the monetary obligation(s) not paid in full prior to the
               defendant's release from custody shall be due in monthly installments of, such payments to begin, days following the
               defendant's release; or

F      [J      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has ex{'ressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througli the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to tlie clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


o      Joint and Several

       Defendant and Co-Defendant Names and Case Number (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant shall forfeit the defendant's interest in the following property to the United States:




PaYlllents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
